           Case 2:04-cr-00408-JAM Document 77 Filed 09/22/06 Page 1 of 1


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 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,       ) NO. Cr.S. 04-408-DFL
                                     )
10               Plaintiff,          )
                                     ) SENTENCING ORDER
11     v.                            )
                                     )
12   FERNANDO TREJO DAMIAN,          )
13                                   ) Judge: Hon. David F. Levi
                 Defendant.          )
14                                   )
     _______________________________ )
15
          GOOD CAUSE APPEARING, it is hereby ordered that the adjustment for
16
     obstruction of justice, §3C1.1 in paragraph 33 of the defendant’s
17
     presentence report, is not appropriate in this case.         The evidence
18
     shows that the defendant, Fernando Trejo Damian, was not adequately
19
20   informed that he was not to divest his personal assets in his business,

21   Novedades Amada and he did not wilfully obstruct or impede the

22   administration of justice during the course of this case.
23        It is so ordered.
24   DATED: 9/22/2006
                                      /s/ David F. Levi
25
                                      DAVID F. LEVI
26                                    Chief United States District Court Judge

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